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  Case                   Document
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Case 1:07-cv-00403-GMS
  Case                   Document
        2:06-cv-00506-TJW-CE      50 Filed
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Case 1:07-cv-00403-GMS
  Case                   Document
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Case 1:07-cv-00403-GMS
  Case                   Document
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Case 1:07-cv-00403-GMS
  Case                   Document
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Case 1:07-cv-00403-GMS
  Case                   Document
        2:06-cv-00506-TJW-CE      50 Filed
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Case 1:07-cv-00403-GMS
  Case                   Document
        2:06-cv-00506-TJW-CE      50 Filed
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Case 1:07-cv-00403-GMS
  Case                   Document
        2:06-cv-00506-TJW-CE      50 Filed
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Case 1:07-cv-00403-GMS
  Case                   Document
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